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                EXHIBIT C
                  Part 2
               Case 3:17-cv-00621-KAD Document 1-5 Filed 04/13/17 Page 2 of 6


      The                                                                                          Post Office Box 2000
Rawlings Companyuc                                                                       LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                                     One Eden Parkway
                                                                                         LaGrange, Kentucky 40031-8100

                                                                                               Telephone (502) 587-1279


                                                 September 22, 2015

Ms. Leslie Spagnoli
BIG Y FOODS INC
PO BOX 7840
SPRINGFIELD, MA 01102

Re:         Our Client:           Aetna
            Member/Patient:       NELLINA GUERRERA/NELLINA GUERRERA
            Date of Loss:         2/20/2015
            Our Reference No.:    68528002
            Your Number:          GC0352015046048


Dear Ms. Spagnoli:

        Please accept this letter as a follow-up to our phone conversation of 9/22/2015 during which we discussed
the health plan's right of subrogation. Subrogation in the context of this health plan's lien is the substitution of the
health plan in the place of the injured party in regards to his/her tort claim to recover medical expenses incurred.
By paying the medical claims of the injured party, the health plan steps into the shoes of the claimant and may take
legal action against the tortfeasor to recover the medical expenses caused by the tortious act.

         We also discussed that the health plan's subrogation claim cannot be settled by the injured party or his/her
attorney. Do not settle with the injured party or his/her attorney without our involvement in the negotiations and
approval of the settlement. If you do settle without us, the health plan could still pursue its subrogation claim
directly against the tortfeasor for recovery of the medical expenses paid.

         Please be advised that our client's lien for treatment arising out of the above-referenced loss currently
totals $8,570.45. This claim itemization should not be used for settlement purposes. Prior to settling, please
contact me to verify the final amount paid by the health plan.

       Thank you in advance for your cooperation in this matter. Please do not hesitate to contact me if you have
any questions.



                                           Sincerely,

                                            9S. EA„---




                                           Kevin E. James J.D.
                                           Subrogation Analyst
                                           (502) 587-9131
                                           FAX: (502) 565-1586
                                           kejl@rawlingscompany.com
               Case 3:17-cv-00621-KAD Document 1-5 Filed 04/13/17 Page 3 of 6


      The                                                                                         Post Office Box 2000
Rawlings Company LLC                                                                    LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                                    One Eden Parkway
                                                                                        LaGrange, Kentucky 40031-8100

                                                                                              Telephone (502) 587-1279
                                            September 22, 2015

Mr. Sean Hammil
Carter Mario
3543 Main Street
Bridgeport, CT 06606

Re:         Our Client:          Aetna
            Member/Patient:      NELLINA GUERRERA/NELLINA GUERRERA
            Our Reference No.:   68528002
            Date of Loss:        2/20/2015

                         NOTICE OF MEDICARE ADVANTAGE POLICY LIEN
             UNDER 42 C.F.R. § 422.108(0, 42 U.S.C. § 1395w-22(a)(4) and 42 U.S.C. § 1395mm(e)(4).

Dear Mr. Hammil:

         NELLINA GUERRERA has received benefits under a Medicare Advantage ("MA") policy issued by our
client, Aetna. Pursuant to federal law, the health plan's recovery rights are equal to those of the federal government
under Medicare. See 42 C.F.R. § 422.108(f)("The Medicare Advantage organization will exercise the same rights to
recover...that the Secretary exercises under the [Medicare Secondary Payor ("MSP")] regulations...").

       Aetna has a right of recovery from all sources providing compensation for those injuries. State laws that might
otherwise limit our client's right of recovery are preempted. 42 U.S.C. § 1395w-22(a)(4) and 42 U.S.C. §
1395mm(e)(4) and 42 C.F.R. 422.108(f) ("A State cannot take away an MA organization's right under Federal law and
the MSP regulations...").

        This lien is enforceable against any party in possession of funds, including, but not limited to, liability
insurance carriers and attorneys. No settlement should be made without notifying our office of the potential settlement
and satisfying our client's interest. This lien may apply to any recovery from any party, whether by judgment,
settlement, or payment. Failure to satisfy the MA plan's claim could result in double damages. 42 C.F.R.
411.24(c)(2).

         As the patient's representative, you are bound by your client's obligation to cooperate with the health plan's
efforts to recover the full amount of the expenses allowable under law that was paid by the health plan in connection
with the incident. At the time of settlement, we anticipate reaching an agreement in satisfaction of Aetna's interest.
Please acknowledge this notice by completing the enclosed information form and return it to The Rawlings Company.
Thank you.

                                          Sincerely,




                                          Kevin E. James J.D.
                                          Subrogation Analyst
                                          (502) 587-9131 FAX: (502) 565-1586
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                   kej 1 @rawl ingscompany. corn
           Case 3:17-cv-00621-KAD Document 1-5 Filed 04/13/17 Page 5 of 6




                              REQUEST FOR CLAIM INFORMATION
       Insured:             NELLINA GUERRERA
       Member/Patient:      NELLINA GUERRERA
       Our Reference No.:   68528002
       Please Return Form to: Kevin E. James J.D. Fax (502) 565-1586
Date of Loss:                                               State of Loss:
Type of Loss/Accident Details:




    1. Med Pay/PIP/No-Fault/UM/UIM - Company/Claim Number:


Med Pay/PIP/No-Fault Adjuster Name          Phone/Fax                                 Coverage Amount


UM/UIM Adjuster Name                        Phone/Fax                                 Coverage Amount


    ➢ If payments have already been issued by your office, please provide a copy of your payment ledger.
      This will allow us to verify that no payments made by your office have been duplicated by the
      medical payments already made by our client
    2. Plaintiff Attorney/At-Fault Carrier(s)/Defense Counsel


Plaintiff Attorney                   Address                                   Pho ne/Fax



At-Fault Carrier                     Claim Number/Adjuster Name                Phone/Fax



Defense Attorney                      Address                                  Phone/Fax


                                           Check all that apply

❑ S ettled/Settling                                  Comments:
❑ Denied/Not Denied/Dropped/Lost Case/Appealing      Comments:

❑ Pend ing/Other                                     Comments:
        I hereby represent that I am the attorney for NELLINA GUERRERA.


Attorney: Sean Hammil                 Signature and Date:


Phone Number                                         Fax Number
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      The                                                                                             Post Office Box 2000
Rawlings Company LLC                                                                        LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                                        One Eden Parkway
                                                                                            LaGrange, Kentucky 40031-8100

                                                                                                   Telephone (502) 587-1279
                                             September 22, 2015

Mr. Sean Hammil
Carter Mario
3543 Main Street
Bridgeport, CT 06606

Re:         Our Client:        Aetna
            Member/Patient:    NELLINA GUERRERA/NELLINA GUERRERA
            Date of Loss:      2/20/2015
            Our Reference No.: 68528002

Dear Mr. Hammil:

    Enclosed, please find a summary of the medical expenses paid by our client on behalf of NELLINA
GUERRERA. Please notify me if any of the charges are unrelated to the accident.

       If you have information that indicates our client has paid claims that are not listed on the attached
summary, please advise so we may investigate. As you are aware, the amount of the claim may increase if
additional health benefits are paid. Therefore, please contact me prior to settlement to obtain the final
amount.

       We are also requesting an update on this claim. Please provide the current status. You may fax your
response to the number listed below.

                                            Sincerely,




                                            Kevin E. James J.D.
                                            Subrogation Analyst
                                            (502) 587-9131
                                            FAX: (502) 565-1586
                                            kejl@rawlingscompany.com
Comments:




Healthcare information is personal and sensitive information, and you, the recipient, are obligated to maintain it in a safe,
secure and confidential manner. Disclosure of this information without additional patient consent or as permitted by law
is prohibited.
